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                                                IN THE DISTRICT COURT IN AND FOR
                                                THE SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION

                                                CASE NO.
 WENDY YUNKER,

        Plaintiff,

 v.

 ALLIANCEONE RECEIVABLES MANAGEMENT, INC.,

       Defendant.
 _____________________________________/

                                       NATURE OF ACTION

        1.      This is an action brought under the Fair Debt Collection Practices Act

 (“FDCPA”), 15 U.S.C. § 1692 et seq and the Florida Consumer Collection Practices Act, Fla.

 Stat. §559.72. (hereafter the “FCCPA”).

                                   JURISDICTION AND VENUE

        2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

        3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where the acts

 and transactions giving rise to Plaintiff’s action occurred in this district, where Plaintiff resides in

 this district, and where Defendant transacts business in this district.

                                               PARTIES

        4.      Plaintiff, WENDY YUNKER (“Plaintiff”), is a natural person who at all relevant

 times resided in the State of Florida, County of Broward, and City of Oakland Park.

        5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        6.      Defendant, ALLIANCEONE RECEIVABLES MANAGEMENT, INC.
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 (“Defendant”) or (“ARM”) is a corporation who at all relevant times was engaged, by use of the

 mails and telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined

 by 15 U.S.C. §1692a(5) as well as the FCCPA.

        7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as well the

 FCCPA.

                                    FACTUAL ALLEGATIONS

        8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt owed

 or due, or asserted to be owed or due a creditor other than Defendant.

        9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be owed or

 due a creditor other than Defendant, arises from a transaction in which the money, property,

 insurance, or services that are the subject of the transaction were incurred primarily for personal,

 family, or household purposes.

        10.      Defendant uses instrumentalities of interstate commerce or the mails in a

 business the principal purpose of which is the collection of any debts, and/or regularly collects or

 attempts to collect, directly or indirectly, debts owed or due, or asserted to be owed or due

 another.

        11.   Defendant, via its agent and/or employee “Eric,” left Plaintiff a voicemail message

 in which Defendant did not state its true business or corporate name, and further failed to notify

 Plaintiff that the communication was from a debt collector.

        12.     Defendant sent Plaintiff initial written communication dated May 14, 2010, in

 which Defendant demanded a sum of $2,750.96 with regard to an alleged debt, when in fact,

 Plaintiff’s obligation was in the amount of $ 1,168.28. (See May 14, 2010 correspondence,

 attached hereto as Exhibit “A”).
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         13.    Defendant, via its agent and/or employee “Eric,” in a telephone conversation with

 Plaintiff on or about August 9, 2010, threatened to have Plaintiff’s driver’s license suspended

 were Plaintiff to fail to pay Defendant the amounts demanded by Defendant, an action Defendant

 could not legally take and/or did not intend to take.

         14.    Defendant sent Plaintiff initial written communication dated May 14, 2010, in

 which Defendant stated that “[a] $5.00 FEE WILL BE CHARGED FOR EACH CREDIT OR

 DEBIT CARD PAYMENT,” an amount not expressly authorized by the agreement creating the

 debt. (See Exhibit “A”).

         15.    Defendant sent Plaintiff initial written communication dated May 14, 2010, in

 which Defendant, above the required disclosures pursuant to 15 U.S.C. § 1692g(a) et seq., stated,

 in relevant part: (i) “[your account] has now been placed with AllianceOne for immediate

 collection efforts”; (ii) “it is important you contact us as soon as possible”; and (iii) “[w]here the

 debt is $50.00 or more, it is our practice to place information regarding the debt with the

 appropriate credit-reporting agencies.” (emphasis supplied). Defendant’s accentuation of

 immediacy in its demands, combined with its threat to report negative credit information, each

 without any qualification as to time, did overshadow, obscure and obfuscate the required

 disclosures below. (See Exhibit “A”).

         16.      Defendant’s actions constitute conduct highly offensive to a reasonable person,

 and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer injury to

 Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or emotional

 distress.

                                              COUNT I

         17.      Plaintiff repeats and re-alleges each and every allegation contained in
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 paragraphs 1 through 16.

        18.        Defendant violated 15 U.S.C. § 1692d(6) by failing to disclose Defendant’s true

 corporate or business name in a telephone call to Plaintiff.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692d(6);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                              COUNT II

        19.         Plaintiff repeats and re-alleges each and every allegation contained in

 paragraphs 1 through 16.

        20.         Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the

 character, amount, or legal status of a debt.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;
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              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                             COUNT III

        21.         Plaintiff repeats and re-alleges each and every allegation contained in

 paragraphs 1 through 16.

        22.         Defendant violated 15 U.S.C. § 1692e(5) threatening to take action against

 Plaintiff that could not be legally taken or that was not actually intended to be taken, including

 threatening to have Plaintiff’s driver’s license suspended were Plaintiff to fail to pay Defendant

 the amounts demanded by Defendant.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(5);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                             COUNT IV

        23.         Plaintiff repeats and re-alleges each and every allegation contained in

 paragraphs 1 through 16.

        24.         Defendant violated 15 U.S.C. § 1692e(10) by using false representations and
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 deceptive practices in connection with collection of an alleged debt from Plaintiff.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                              COUNT V

        25.         Plaintiff repeats and re-alleges each and every allegation contained in

 paragraphs 1 through 16.

        26.         Defendant violated 15 U.S.C. § 1692e(11) by failing to notify Plaintiff during

 each collection contact that the communication was from a debt collector.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(11);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;
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              f) Awarding such other and further relief as the Court may deem just and proper.

                                             COUNT VI

        27.         Plaintiff repeats and re-alleges each and every allegation contained in

 paragraphs 1 through 16.

        28.         Defendant violated 15 U.S.C. § 1692f(1) by collecting an amount from Plaintiff

 that was not expressly authorized by the agreement creating the debt.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692f(1);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                             COUNT VII

        29.         Plaintiff repeats and re-alleges each and every allegation contained in

 paragraphs 1 through 16.

        30.         Defendant violated 15 U.S.C. § 1692g(b) by overshadowing the disclosures

 required by 15 U.S.C. 1692g(a) during the thirty day dispute period.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692g(b);
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              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                   COUNT VIII
                 VIOLATIONS OF THE SECTION 559.72(9) OF THE FCCPA
                                 AGAINST ARM

        31.         Plaintiff re-alleges and incorporates by reference as though fully set forth

 herein, paragraphs 1-16 of this complaint.

        32.         Defendant violated §559.72(9) of the Florida Consumer Collection Practices

 Act by asserting the existence of a legal right with the knowledge that the right did not exist,

 including threatening to have Plaintiff’s driver’s license suspended.

        33.      As a result of Defendant’s violations as aforesaid, Plaintiff suffered and continues

 to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

        WHEREFORE, Plaintiff, WENDY YUNKER, by and through her attorneys, respectfully

 prays for judgment as follows:

        a.       All actual compensatory damages suffered;

        b.       Emotional and/or mental anguish damages;

        c.       Statutory damages of $1,000.00;

        d.       Plaintiff’s attorneys’ fees and costs;

        e.       Any other relief deemed appropriate by this Honorable Court.
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                                      TRIAL BY JURY

      34.    Plaintiff is entitled to and hereby demands a trial by jury.



      Respectfully submitted this ___ day of _____, 20__.



                                                 Respectfully submitted,
                                                 WENDY YUNKER


                                                 By: s/ Alex D. Weisberg
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